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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

 

FILED BY _ SX2_ DC.

 

HYUNDAI MOTOR AMERICA CORPORATION,

 

 

Plaintiff JAN 18 2023
ANGELA E. NOBLE
CLERK U.S. DIST. CT.
Vv. S.D. OF FLA. — W.PB
EFN WEST PALM MOTOR SALES, LLC,
Defendant/Counterclaim .
Plaintifi/Third-Party Plaintiff Case No. 9:20-cv-82102-WM
GENE KHAYTIN; ERNESTO REVUELTA;
EDWARD W. NAPLETON; GEOVANNY PELAYO, VERDICT FORM

JORGE RUIZ,

EFN WEST PALM MOTOR SALES, LLC; for itself
and in the name of the Department of Highway Safety
and Motor Vehicles of the State of Florida, for its use
and benefit,
Counterclaim-Plaintiff,
V.

HYUNDAI MOTOR AMERICA CORPORATION,

Counterclaim-Defendant,

 

 
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VERDICT FORM REGARDING HYUNDAI’S CLAIMS
COUNT I: Fraud
Do you find by a preponderance of the evidence:

l(a). That any Defendant below committed fraud against Hyundai?

“Gene” Khaytin [YES] ie [NO]
“Eddie” Napleton [YES] [NO]

“Geo” Pelayo [YES] [NO] |
“Ernie” Revuelta [YES]_ _ [NO]

Jorge Ruiz [YES] [NO] Vv

[If you answered “NO” for all Defendants, STOP and go to Count II. Otherwise, continue
to 1(b).|

1(b). That the unclean hands affirmative defense asserted by the Defendants bars Hyundai
from recovering damages against any Defendant?

[YES] a

“Gene” Khaytin [NO]
“Eddie” Napleton [YES] [NO]
“Geo” Pelayo [YES] [NO]
“Ernie” Revuelta [YES] [NO]
Jorge Ruiz [YES] [NO]

[If you answered “YES” as to all Defendants, STOP and go to Count II. Otherwise, continue
to 1(c).]

l(c). If you answered “YES” in l(a) for any of the Defendants and “NO” in 1(b) as to that

Defendant or Defendants, please state the amount, in dollars, that will fairly compensate
Hyundai for the damages resulting from the fraud.

Amount: $

 

If you did not award damages against any Defendant in 1(c), STOP and go to Count II. If
you did award damages against any Defendant or Defendants in 1(c), do you find by clear
and convincing evidence as to that particular Defendant or Defendants:

l(d). That any Defendant below committed fraud actively and knowingly, or that any Defendant
below showed a conscious disregard or indifference to Hyundai’s rights?

“Gene” Khaytin
“Eddie” Napleton

[YES]___ [NO] __
[YES}___ [NO] _
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“Geo” Pelayo [YES] {NO}
“Ernie” Revuelta [YES} [NO]
Jorge Ruiz [YES] {NO]

[If you answered “NO” for all Defendants, STOP and go to Count II. Otherwise, continue to
1(e).]

l(e). If you answered “YES” for any Defendant in 1(d), please write the amount, if any, that
such Defendant must pay Hyundai as a punishment and deterrent to others.

“Gene” Khaytin
“Eddie” Napleton
“Geo” Pelayo
“Ernie” Revuelta
Jorge Ruiz

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COUNT Il: Civil Racketeer Influenced and Corrupt Organization (“RICO”) Act

 

Do you find by a preponderance of the evidence:

2(a). That Defendants below operated or managed an interest in a criminal enterprise through a
pattern of racketeering activity with the intent to defraud in violation of § 1962 (c) of the

RICO Act?
“Gene” Khaytin [YES] [NO] i
“Eddie” Napleton [YES] [NO] <
“Geo” Pelayo [YES] [NO]
“Ernie” Revuelta [YES] [NO]
Jorge Ruiz [YES] [NO]
EFN West Palm [YES] [NO]

[If you answered “NO” for all Defendants, STOP and go to Count III. Otherwise, continue
to 2(b).]

2(b). If you answered “YES” for two or more Defendants in 2(a), please state the amount, in
dollars, that will fairly compensate Hyundai for the damages resulting from its claim for

violation of § 1962 (c) of the RICO Act?

Amount: $
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COUNT III: Civil RICO Conspiracy

Do you find by a preponderance of the evidence:

3(a). That Defendants below intentionally conspired and agreed to operate or manage an interest
in a criminal enterprise through a pattern of racketeering activity with the intent to defraud
Hyundai in violation of § 1962 (c) and (d) of the RICO Act?

“Gene” Khaytin [YES] [NO] A
“Eddie” Napleton [YES} [NO] v
“Geo” Pelayo [YES] [NO]
“Ernie” Revuelta [YES] [NO]

Jorge Ruiz [YES] [NO]

EFN West Palm [YES] [NO]

[If you answered “NO” for at least five Defendants, STOP and go to Count V. Otherwise,
continue to 3(b).]

3(b). If you answered “YES” for two or more Defendants in 3(a), please state the amount, in
dollars, that will fairly compensate Hyundai for the damages resulting from its claim for
violation of §1962 (d) of the RICO Act.

Amount: $
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COUNT VY: Civil Conspiracy

Do you find by a preponderance of the evidence:

5(a). That two or more of the following Defendants conspired to commit fraud against Hyundai?

“Gene” Khaytin [YES} [NO] 2
“Eddie” Napleton [YES] [NO] v
“Geo” Pelayo [YES] [NO]
“Ernie” Revuelta [YES] [NO]

Jorge Ruiz [YES] [NO]

[lf you answered “NO” for at least four Defendants, STOP and go to West Palm’s
counterclaims. Otherwise, continue to 5(b).|

5(b). That the unclean hands affirmative defense asserted by the Defendants bars Hyundai from
recovering damages against any Defendant?

“Gene” Khaytin [YES}___ [NO]
“Eddie” Napleton [YES] [NO]
“Geo” Pelayo [YES]___——S[NO)_
“Ernie” Revuelta [YES] [NO]
Jorge Ruiz [YES]___—_—s [NO]

[If you answered “YES” as to all Defendants in 5(b) for whom you also answered “YES” in
5(a), STOP and go to West Palm’s Counterclaims. Otherwise, continue to 5(c).|

5(c). If you answered “YES” for two or more Defendants in 5(a) and also answered “NO” for
those Defendants in 5(b), please state the amount, in dollars, that will fairly compensate
Hyundai for the damages resulting from its claim of civil conspiracy:

Amount: $
If you did not award damages against any Defendant in 5(c), STOP and go to West Palm’s
Counterclaims. If you did award damages against any Defendant or Defendants in 5(c), do

you find by clear and convincing evidence as to that particular Defendant or Defendants:

5(d). That any Defendant actively and knowingly engaged in a civil conspiracy to commit fraud,
or that any Defendant below showed a conscious disregard or indifference to Hyundai’s

rights?
“Gene” Khaytin [YES]_——s[NOJ_
“Eddie” Napleton [YES] [NO]
“Geo” Pelayo {YES} Ss [NO]
“Ernie” Revuelta {[YES}__ [NO].
Jorge Ruiz [YES} [NO]

 
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{If you answered “NO” for all Defendants in 5(d), STOP and go to West Palm’s
Counterclaims. Otherwise, continue to 5(e).|

S(e). Ifyou answered “YES” for any Defendant in 5(d), please write the amount, if any, that the
Defendant must pay Hyundai as a punishment and deterrent to others.

“Gene” Khaytin
“Eddie” Napleton
“Geo” Pelayo
“Ernie” Revuelta
Jorge Ruiz

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VERDICT FORM REGARDING WEST PALM’S COUNTERCLAIMS
COUNTERCLAIM I: Section 320.64(18), Fla. Stat.
Do you find that:

l(a). EFN West Palm made a prima facie showing that the violation alleged in Counterclaim |
has occurred?

ANSWER: [YES] ___ [NO] iS.
[If you answered “NO”, STOP and go to Counterclaim II. Otherwise, continue to 1(b).]
Do you find by a preponderance of the evidence Hyundai proved:
1(b). That such violation or unfair practice alleged in Counterclaim I did not occur?
ANSWER: [YES] ss [NO]

[If you answered “YES”, STOP and go to Counterclaim II. Otherwise, continue to 1(c).]

l(c). Please write the amount, if any, that Hyundai must pay EFN West Palm to fairly
compensate it for injuries resulting from Counterclaim I. Please answer in dollars and cents.

Amount: $
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COUNTERCLAIM Ii: Section 320.64(19), Fla. Stat.

 

Do you find that:

2(a). .EFN West Palm made a prima facie showing that the violation alleged in Counterclaim I]
has occurred?

ANSWER: [YES]_____ [NO] A

[If you answered “NO”, STOP and go to Counterclaim III. Otherwise, continue to 2(b).|

Do you find by a preponderance of the evidence Hyundai proved:

2(b). That such violation or unfair practice alleged in Counterclaim JJ did not occur?

ANSWER: [YES] [NO]

[If you answered “YES”, STOP and go to Counterclaim III. Otherwise, continue to 2(c).|

2(c) Please write the amount, if any, that Hyundai must pay EFN West Palm to fairly
compensate it for injuries resulting from Counterclaim II. Please answer in dollars and

cents.

Amount: $
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COUNTERCLAIM III: Section 320.64(22), Fla. Stat.

Do you find that:

3(a). EFN West Palm made a prima facie showing that the violation alleged in Counterclaim III
has occurred?

ANSWER: [YES] ______s[NO] JS

[If you answered “NO”, STOP. Otherwise, continue to 3(b).]

Do you find by a preponderance of the evidence Hyundai proved:

3(b). That such violation or unfair practice alleged in Counterclaim III did not occur?

ANSWER: [YES] [NO]

 

[If you answered “YES”, STOP. Otherwise, continue to 3(c).|
3(c). Please write the amount, if any, that Hyundai must pay EFN West Palm to fairly
compensate it for injuries resulting from Counterclaim III. Please answer in dollars and

cents.

Amount: $

 

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Please have the foreperson sign this verdict form.
SO SAY WE ALL
QO Ura”

Foreperson

Dated: | [1% 102.3

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